
34 N.Y.2d 992 (1974)
William Claytor, Appellant,
v.
Wilmot and Cassidy, Inc. et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 3, 1974.
Decided September 18, 1974.
On the court's own motion, order of the Appellate Division will be affirmed, without costs, and judgment absolute ordered against appellant on his stipulation, unless within 30 days appellant makes application to withdraw the appeal herein, in which event leave to do so is hereby granted. The decision at the Appellate Division having been on the facts, this court would be bound in any event to affirm and render judgment absolute. (CPLR 5615; see Cohen and Karger, Powers of the New York Court of Appeals, pp. 295-296, 304-305.)
